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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


JOHN DOES 151-166,

                         Plaintiffs,                           Case No. 2:20-cv-3817

       v.                                                      Judge Michael H. Watson

THE OHIO STATE UNIVERSITY,                                     Chief Magistrate Judge
                                                               Elizabeth P. Deavers
                         Defendant.


    ORDER ESTABLISHING THE WS OSU II QUALIFIED SETTLEMENT FUND AND
                   APPOINTING FUND ADMINISTRATOR

       Having come before this Court upon the Motion to Establish the WS OSU II Qualified

Settlement Fund, this Court has received evidence and information from the Movant that the

establishment of this Qualified Settlement Fund satisfies the requirements of Treasury Regulation

Section 1.468-1(c) as:

       a)      It is established to resolve one or more contested or uncontested claims 1 that have

resulted from an event or series of events giving rise to at least one claim asserting liability; and

       b)      It is established pursuant to the Motion presented to this Court; and

       c)      The assets of the Fund are segregated from other assets of the transferor.

THEREFORE IT IS HEREBY ORDERED THAT:

       1. The aforementioned WS OSU II Qualified Settlement Fund is approved.

       2. ARX Management, LLC (“ARX”) is appointed as Fund Administrator and is hereby




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 There were five cases involving 23 Plaintiffs included in the 10/12/2020 settlement. As such, all
documents filed under this Case Number shall spread on the docket and equally apply to Case Numbers:
2:20-cv-2574, 2:20-cv-1429, 2:20-cv-2008, and 2:20-4657, all of which are in the settlement.
                                                  1
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         granted the authority to conduct any and all activities necessary to administer this

         Qualified Settlement Fund, including but not limited to execution of all qualified

         assignment documents of any resulting structured settlement liability within the

         meaning of Section 130(c) of the Internal Revenue Code.

      3. The Qualified Settlement Fund shall be established at U.S. Bank (“Bank”), a financial

         institution doing business in Minneapolis, MN and Cincinnati, OH according to the

         terms, conditions and restrictions of the Motion and this Order.

      4. Upon final distribution of all monies paid into the Qualified Settlement Fund, the Fund

         Administrator shall take appropriate steps to wind down the Settlement Fund and

         thereafter shall be discharged from any further responsibility with respect to the

         Settlement Fund.

      IT IS SO ORDERED.

                                            /s/ Michael H. Watson
                                           ___________________________________
                                           MICHAEL H. WATSON
                                           UNITED STATES DISTRICT JUDGE




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